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                                           7.18.
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4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant's attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge's Self-Calendaring Procedure: The undersigned hereby verifies that
    the above hearing date and time were available for this type of Motion according to the judge's self-calendaring
    procedures.


Date: 06/29/2023
                                                                                Printed name of law firm




                                                                                JAMIE LYNN GALLIAN IN PRO SE
                                                                                Printed name of attorney




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page2                               F 9013-1.1.HEARING.NOTICE
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                              filed a chapter 7 bankruptcy on                      , 20
                                         owes                            $                in unsecured debt

 1
 2
 3                                                     n                                                       Houser

 4   Bros Co is n                                                        There is no judgment in favor of Houser

 5   Bros Co. An unprosecuted Unlawful Detainer OCSC 30-2019-01041423 remains

 6   unprosecuted notwithstanding this Court granted RFS on 2.17.23

 7           The United States Trustee (UST) has                                  motion to dismiss

 8                  ’s chapter 7 petition in bad faith pursuant to 11 U.S.C. § 707(b)(3)(A)

 9               portion of                       ’s debt was incurred in an effort to help her family in a time

10   of financial difficulty,            of                      debt was incurred in legitimate

11

12                                            .

13
14          factors suggest that                           s filing of                 petition was done wit     good

15   faith on her part,             indicat          of abus of the                           pursuant to 11 U.S.C.

16   § 707(b)(3)(A)                                                  “totality of the circumstances” analysis,

17                showing of abuse of the bankruptcy process pursuant to 11

18   U.S.C. § 707(b)(3)(B).         he                 motion should be granted.

19                                                              FACTS

20   Commencing in late 20          ,

21                +

22                              .                       statement of                                 indicates that

23   she earned $       000                                20    .

24                        7/2021

25
26




                                                                2
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 1
 2                                                Unfortunately, since 20

 3
 4
 5                                                                             has been

 6   unemployed                                                 .

 7
 8                           lives with her                            in

 9
10
11

12        In       20

13                            experienced a general sense of financial panic

14

15
16
17
18
19                                                In

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 1
 2
 3                                                       and the LLC
 4
 5

 6
 7
 8
 9     living in the unit with her family and
10                          80 yr
11                     recorded against the land APN 178-011-16 where Gallian's Space
12   376 home is installed in the Official Records Clerk Recorder, County of Orange. Bk
13   13424 pg 499 A final Subdivision Map was issued by the Department of Real Estate
14   in July 1980. Houser Bros Co filed an Business Application in August 1981, for a City
15   Business License within Huntington Beach listing the entity as the "Park Manager"
16
17
18
19

20
21         In                             credit cards
22   Thus, in                            incur credit card debt, arguably either for business
23   purposes or for       personal reasons.
24                          use her credit cards                                  to pay fo
25   various contractor services, for the remodeling                                new
26   investment property             .

           use her creditcard


                                                   4
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 1                                         DISCUSSION
 2          In considering whether a chapter 7 case should be dismissed              the
 3   provisions of chapter 7, courts may consider (a) whether the debtor filed the petition in
 4         faith; or (b) whether the totality of the circumstances of the debtor’s financial
 5   situation demonstrates abuse. 11 U.S.C. § 707(b)(3)(A) and (B).
 6                    moved to dismiss               ’s chapter 7 pursuant to § 707(b)(3)(A)
 7
 8   A.                                      Dismissal Under 707(b)(3)(A)
 9          Section 707(b)(3) was added to the Bankruptcy Code by the Bankruptcy Abuse
10   Prevention and Consumer Protection Act of 2005 (BAPCPA). Since BAPCPA, the
11   Ninth Circuit has not established a standard for determining a finding of “bad faith” in
12   chapter 7 cases under § 707(b)(3)(A). However, a few bankruptcy courts have
13   addressed the issue. See, e.g., In re Mitchell, 357 B.R. 142 (Bankr. C.D.Cal. 2006).
14   The court in Mitchell, a chapter 7 case, used a nine-part test borrowing both from the
15   Ninth Circuit’s pre-BAPCPA “substantial abuse” test and from chapter 11 and 13 bad
16   faith cases. Id. at 153-156 (citing: In re Price, 353 F.3d 1135, 1139-40 (9th Cir. 2003)
17   (using a six factor “totality of the circumstances test” to determine “substantial abuse”
18   under pre-BAPCPA 707(b)); In re Leavitt, 171 F.3d 1219 (9th Cir.
19   1999)(dismissing a chapter 13 for cause under §§ 349(a) and 1307(c), after a finding
20   of bad faith employing a four part “totality of the circumstances” test)).
21          The court in Mitchell considered the following nine factors in determining
22   whether “the debtor’s intention in filing bankruptcy is inconsistent with the Chapter 7
23   goals of providing a ‘fresh start’ to debtors and maximizing return to creditors” and
24   whether the case should thus be dismissed under § 707(b)(3)(A):
25
26
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 1           1. Whether the chapter 7 debtor has a likelihood of sufficient future
 2           income to fund a chapter 11, 12, or 13 plan which would pay a
 3           substantial portion of the unsecured claims;
 4           2. Whether debtor’s petition was filed as a consequence of illness,
 5           disability, unemployment, or other calamity;
 6           3. Whether debtor obtained cash advances and consumer goods on
 7           credit exceeding his or her ability to repay;
 8           4. Whether debtor’s proposed family budget is excessive or
 9           extravagant;
10           5. Whether debtor’s statement of income and expenses
11           misrepresents debtor’s financial condition;
12           6. Whether debtor made eve of bankruptcy purchases;
13           7. Whether debtor has a history of bankruptcy petition filings and
14           dismissals;
15           8. Whether debtor has invoked the automatic stay for improper
16           purposes, such as to delay or defeat state court litigation;
17           9. Whether egregious behavior is present.
18   Mitchell at 154-55. To be sure, no single factor is considered dispositive, Id. at 155
19   (citing: In re Powers, 135 B.R. 980, 991-92 (Bankr. C.D.Cal. 1991); In re Marshall, 298
20   B.R. 670, 681 (Bankr. C.D.Cal. 2003)), and fraudulent intent is not required for a
21   finding of bad faith. Id. (citing Leavitt, 171 F.3d at 1224).
22           1.              Likelihood that the chapter 7 debtor will have sufficient
23   future income to fund a chapter 11 or 13 plan.                   does not currently have
24   income to fund a chapter 11 or 13. According to the pleadings, such future income is
25   not foreseeable. This fact supports           ’s position                        .
26           2. Consequence of illness, disability, unemployment or other calamity.
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                    claims, in part, that the bankruptcy petition was filed as a consequence of the
     disability of her
                                                                        . H    disability

 1                                           caused financial panic, in response to which

 2
 3
 4
 5

 6                                     under an agreement that promised her 5

 7                              However,                               and she       received no money in

 8 return for her investment.                  's

 9               e disability 2018,     2 year global            and stay-at home orders, her new

10 employment at 75% less that she previously made in her 20+ career
11                                                                       the

12 from          MS and                                                                                 her

13                            . and short term memory loss.

14                                                       gr    expenditures                            . There

15                                                   health status after the petition July        .

16           Further, the                                                              suggests that
17                  incurred thousands of dollars of new credit card debt a             car for
18 her        clothing expenses,                                                     stays,       other
19 consumer items               alleged period of financial distress           in November
20 2018,            Ms. Gallian sold Unit 53 and purchased Unit 376, in a Senior section of TRACT
21 10542, known as Unit(s) 1, 2, 3, 4, Space 376, the location of a 2014 Skyline Custom Villa

22 Manufactured Home installed on Space 376 in 2014, listed for Sale by the homeowner and
23 Seller Lisa T. Ryan. Gallian accepted the Unit 376 Assignment from Lisa Ryan, the same
24 Assignment the purchaser of Unit 53 accepted from Gallian. when Gallian sold 53 to Nickel.
25
26     e                      , refused to accept further Ground Lease payments the same payment
     she has been paying since 2009, on Unit 53, without fail. By
     qualified            s       S        376 L        Agreement, HOUSER claims financial harm from
     their own actions "claiming the home cannot be sold in place" to the Broker Gallian hired.
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     To the contrary, Ms. Gallian has tendered the Gables Ground leasehold rent to an
     entity known as BS Investors, Irvine CA., every quarter since 2009, a Contract recorded
 1
     against APN 178-011-01, Parcel 1 and 2 recorded in PMB Book 108, pg 47-48. However
 2
     unbeknownst to Gallian the Huntington Beach Gables Project is built on a separate
 3
     APN 178-771-03 subdivided in approximately 1965 as [apartment homes]. Houser Bros
 4
     Co cannot provide any GRANT DEED to either parcel 178-011-16 or 178-771-03. I
 5
     believe the Court should ORDER HOUSER CO to Provide Escrow Documents & Grant
 6
     Deed to this Court to end this controversay as to who is entitled to possession.
 7
 8
 9
10
11
               4. Excessive or extravagant proposed family budget.                budget
12
      appears to be               . In Schedules I and J, she claims average monthly income
13
      of $ ,     and average monthly expenditures of $           , I he                  gap
14
      between her monthly income and budget suggestive of good faith on her part.
15
16
               5. Statement of income and expenses representing financial condition.
17
      The                           ha    not alleged any misrepresentation in     ’s
18
      statement of financial condition.
19

20
               6. Eve of bankruptcy purchases.
21
                   in favor of a finding of good faith.
22
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 1          9. Egregious behavior.                 argues that rather than exhibiting
 2   egregious behavior, the facts illustrate bad financial luck. She points to the fact that
 3   she has had a hard time finding a job
 4                 In the end, she claims that despite her honest efforts to improve her
 5   income, she has been unlucky and, thus, is unable to pay off
 6                                                                  debts.
 7
 8              factors                               spending     detailed above
 9            low rate of income over a       -year period preceding bankruptcy,
10             cash advance debt                                    appear to be
11   under the circumstances
12
13
            Thus, analysis pursuant to       of nine Mitchell factors,
14

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 1
 2   B. Dismissal Under 707(b)(3)(B)                       : Totality of the Circumstances
 3          Additionally, dismissal would     appear appropriate under § 707(b)(3)(B),
 4   considering the “totality of the circumstances”        the      evidence. Bankruptcy
 5   courts that have addressed § 707(b)(3) since the enactment of BAPCPA have found
 6   that the “totality of the circumstances” tests that were applicable under the former §
 7   707(b) remain applicable under BAPCPA. Mitchell, 357 B.R. at 150, 153; In re Richie,
 8   353 B.R. 569, 575 (Bankr. E.D. Wis. 2006). BAPCPA made changes, however,
 9   making it easier for                       to prove a case for abuse because (a) there
10     a presumption in favor of granting relief to a debtor, and (b) the standard for
11   dismissal is reduced from “substantial abuse” to mere “abuse.” In re Colgate, 2007
12   WL 1649103 at *3 (Bankr. E.D.N.Y. 2007); Mitchell, 357 B.R. at 153; Richie, 353 B.R.
13   at 574.The Price “totality of the circumstances” test includes the following six
14

15          1. Whether there is a likelihood of future income to fund debtor’s chapter
16          11, 12, or 13 plan;
17          2. Whether the petition was filed as a consequence of illness, disability,
18          unemployment, or other calamity;
19          3. Whether the schedules suggest debtor obtained cash advances and
20          consumer goods without the ability to repay;
21          4. Whether debtor’s proposed family budget is excessive or extravagant;
22          5. Whether debtor’s papers misrepresent his or her financial condition;
23          and
24          6. Whether debtor engaged in eve of bankruptcy purchases.
25   Price, 353 F.3d at 1139-40.
26          Here, Price factors     favorable to             , indicating a

                                                   1
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 1   good faith          and                     conclusion of abuse under § 707(b)(3)(B).
 2          1. Future income to fund a chapter 11 or 13 plan.                            has
 3   foreseeable likelihood of future income to fund a chapter 11 or 13.
 4          2. Consequence of illness, disability, unemployment, or calamity. This
 5   factor is favorable to               because                        present     evidence that she
 6   herself experience               illness           , change in employment status, disabilit
 7                                 the excess of her debt over her income.
 8          3.                              Cash advances and               consumer good
 9                  without ability to repay. As discussed above,                               ncur
10   credit card debt which may have been incurred in the attempt to improve her financial
11   situation.                                           Thus, this factor weighs
12          4. Excessive or extravagant family budget. As discussed above,
13                monthly income is               her monthly spending, which includes
14                                                                 .    er budget is       excessive
15   and suggestive of a good faith                                     .
16          5. Misrepresentation of financial condition.                            alleged
17   misrepresentation in                                                   papers as to her financial
18   condition.
19          6. Eve of bankruptcy purchases. As discussed above,
20                         open       credit cards in July of 20       . These facts are suggestive
21   of good faith in her bankruptcy filing.
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     C.                 Dismissal                        with a One-Year Bar Against
 1   Refiling

 2   A bankruptcy court may, for cause, dismiss a bankruptcy case with

 3        a bar against later discharge of debt. 11 U.S.C. § 349(a); Leavitt, 171 F.3d at

 4   1223.

 5           A finding of bad faith based on egregious behavior can justify dismissal with

 6   prejudice                         . Leavitt, 171 F.3d at 1224. The bankruptcy court

 7   should consider the following factors when considering barring later discharge for

 8   bad faith:

 9           1. Whether debtor misrepresented facts in her petition, unfairly

10           manipulated the bankruptcy code, or otherwise filed in an inequitable

11           manner;

12               Debtor’s filing history;
13               Whether debtor only intended to defeat state court litigation;
14               Whether egregious behavior is present.
15                                    egregious behavior               present
16                                                   and
17                    state court      litigation
18                                                            Under the egregious
19   circumstances outlined, it would          be appropriate to bar              from refiling a
20   bankruptcy petition
21

22           Ms. Gallian wants the Court to know that she has retained approximatley 4
23   maybe 5 bankruptcy attorneys to initially file this Chapter 7 Case and defend. As
24   soon as Ms. Gallian's Counsel spoke with opposing counsel or the Trustee, Ms.
25   Gallian's Counsel returned retainer monies and stated, "I am not going down the
26   rabbit hole." "You cannot and will never be able to pay the fees that I charge for these
     types of adversary case(s)." "This case is not an asset case." "Good Luck to you."


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                                                 CONCLUSION



 1                      financial difficulties. She           used her credit cards for personal

 2   expenditures                     ,   purchase consumer goods          services,   to obtain cash

 3   advances. The               record     significant             evidence of excessive expenditures

 4   Pursuant to 11 U.S.C. §§ 707

 5                                                    chapter 7 petition                   ,

 6                and      impose a       bar on future bankruptcy filings by or against

 7
 8             The petition filed IN PRO PER has caused Ms. Gallian's health to decline rapidly.

 9   Ms. Gallian's education includes a high school level. Ms. Gallian can no longer maintain

10   the level of mental awareness and memory required to protect her interests; Ms. Gallian

11   does not have the financial means to obtain legal counsel, vis a vis so as to avoid

12   "wasting the Courts time and Plaintiff's time" trying to explain a history of related civil

13   actions spanning over 4 presidential terms. A Chapter 7 Debtor gives up nonexempt

14   property in exchange for a speedy case. This 2 year bankruptcy ordeal has been anything

15   but speedy.

16                                d                       s

17                                                        I declare under penalty of perjury the

18   foregoing to be true and correct to the best of my ability based upon on information and

19   belief.

20
21                          9

22
23
24   DATED: Ju          9, 20              Respectfully submitted,

25
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